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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
              vs.                             )                  8:06CR312
                                              )
JAVIER GALVAN-DUQUE,                          )          SCHEDULING ORDER
                                              )
                     Defendant.               )

       Before the court is defendant’s Motion to Continue [25] the initial appearance and
arraignment of the defendant. The defendant was originally charged and detained on a
Criminal Complaint filed September 8, 2006. A Preliminary Examination was scheduled
for September 27, 2006. Defendant was indicted on September 20, 2006, at which time
the court set an Initial Appearance and Arraignment for October 5, 2006. Defense counsel
is unavailable on October 5. For good cause shown, the court finds that the motion should
be granted.

       IT IS ORDERED that Defendant's Motion to Continue [25] is granted, as follows:

       1. The Initial Appearance and Arraignment on Indictment now set for October 5,
2006 is continued to October 12, 2006 at 1:30 p.m. before Magistrate Judge F.A. Gossett.

       3. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., the time between October 5, 2006 and October
12, 2006, shall be deemed excludable under the requirement of the Speedy Trial Act due
to defense counsel's scheduling conflict, taking into consideration due diligence of counsel,
and the novelty and complexity of this case. The failure to grant additional time might result
in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

      4. Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the Court.

       DATED October 5, 2006.

                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
